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                     IN THE UNITED STATES DISTRICT COURT FOR THE
8
                             EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,             )       CR F 04-5185 OWW
11                                         )
                    Plaintiff,             )
12                                         )       ORDER FOR DISMISSAL OF
          v.                               )       INDICTMENT
13                                         )
     MIGUEL VALENCIA,                      )
14                                         )
                                           )
15                  Defendant.             )
                                           )
16

17        Pursuant to the motion by the United States, IT IS HEREBY
18   ORDERED that the Indictment filed herein be dismissed against
19   defendant MIGUEL VALENCIA only without prejudice and in the interest
20   of just, and any warrant shall be recalled.
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     DATED:      8/7/2007                  /s/Oliver W. Wanger
23                                        HONORABLE OLIVER W. WANGER
                                          U.S. District Court Judge
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